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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

CHARLENE CARTER,                           §
                                           §
                                           §
       Plaintiff,                          §     Civil Action No. 03:17-cv-02278-S
v.                                         §
                                           §
SOUTHWEST AIRLINES CO., AND                §
TRANSPORT WORKERS UNION                    §
OF AMERICA LOCAL 556,                      §
                                           §
       Local 556s.                         §

         ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION
 TO EXTEND DEADLINE FOR COMPLIANCE WITH THE MAGISTRATE’S ORDER

       On this day, the Court heard Defendant’s Unopposed Motion to Extend Deadline for

Compliance with the Magistrate’s Report.

       The Court, having considered the Motion, is of the opinion that the Motion should be

GRANTED. It is, therefore:

       ORDERED that Defendant’s deadline for compliance be extended from July 31, 2020 to

August 3, 2020.

       Signed on this ______ day of ___________________, 2020.
